           Case 3:09-cr-00031-LC                  Document 87          Filed 06/09/09    Page 1 of 6


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                               Page 1 of 6
3:09cr31-002LAC - TOLONDA TALLEY


                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                           Case # 3:09cr31-002LAC

TOLONDA TALLEY
                                                               USM # 07118-017

                                                               Defendant’s Attorney:
                                                               Shelley G. Reynolds(Appointed)
                                                               3 West Garden Street, Suite 718
                                                               Pensacola, FL 32502
___________________________________
                            JUDGMENT IN A CRIMINAL CASE
The defendant pled guilty to Counts One and Two of the Indictment on March 23, 2009.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:
       TITLE/SECTION                          NATURE OF                    DATE OFFENSE
          NUM BER                              OFFENSE                      CONCLUDED            COUNT

 21 U.S.C. §§ 841(a)(1)           Conspiracy to Possess W ith               March 17, 2009        One
 and (b)(1)(A), and 846           Intent to Distribute 500 Gram s or
                                  More of a Mixture and Substance
                                  Containing a Detectable Am ount
                                  of Metham phetam ine, its Salts,
                                  Isom ers and Salts of Isom ers

 21 U.S.C. §§ 841(c)(2)           Conspiracy to Possess or                  March 17, 2009        Two
 and 846                          Distribute Pseudoephedrine W ith
                                  Knowledge It W ill Be Used to
                                  Manufacture Metham phetam ine

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                               Date of Imposition of Sentence:
                                                               June 5, 2009

                                                               s /L.A. Collier
                                                               LACEY A. COLLIER
                                                               SENIOR UNITED STATES DISTRICT JUDGE

                                                               June 9, 2009
           Case 3:09-cr-00031-LC                  Document 87       Filed 06/09/09   Page 2 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                           Page 2 of 6
3:09cr31-002LAC - TOLONDA TALLEY


                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 72 months as to Counts One and Two, with Counts to run
concurrently one with the other.

The Court recommends to the Bureau of Prisons: Residential Drug Treatment Program

         The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
           Case 3:09-cr-00031-LC                  Document 87    Filed 06/09/09         Page 3 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                Page 3 of 6
3:09cr31-002LAC - TOLONDA TALLEY

                                             SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Three Years as to Counts One and Two, with Counts to run concurrently one with the
other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                    STANDARD CONDITIONS OF SUPERVISION
      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defendant shall not leave the judicial district without the perm ission of the court or probation
         officer;

2.       The defendant shall report to the probation officer and shall subm it a truthful and com plete written
         report within the first five days of each m onth;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and m eet other fam ily responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least 10 days prior to any change in residence or
         em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or adm inister any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or adm inistered;

9.       The defendant shall not associate with any persons engaged in crim inal activity and shall not
         associate with any person convicted of a felony unless granted perm ission to do so by the probation
         officer;
           Case 3:09-cr-00031-LC                  Document 87        Filed 06/09/09         Page 4 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                     Page 4 of 6
3:09cr31-002LAC - TOLONDA TALLEY

10.      The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and
         shall perm it confiscation of any contraband observed in plain view of the probation officer;

11.      The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law
         enforcem ent agency without the perm ission of the court; and

13.      As directed by the probation officer, the defendant shall notify third parties of risks that m ay be
         occasioned by the defendant’s crim inal record or personal history or characteristics and shall perm it
         the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such
         notification requirem ent.

14.      If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Paym ents set forth in
         the Crim inal Monetary Penalties sheet of this judgm ent.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         The defendant shall be evaluated for substance abuse and referred to treatment as
         determined necessary through an evaluation process. The defendant may be tested for the
         presence of illegal controlled substances or alcohol at any time during the term of
         supervision.

         The defendant shall participate in a program of mental health treatment counseling and/or
         treatment.
           Case 3:09-cr-00031-LC                  Document 87   Filed 06/09/09   Page 5 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                       Page 5 of 6
3:09cr31-002LAC - TOLONDA TALLEY

       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




         Defendant                                                       Date




         U.S. Probation Officer/Designated Witness                       Date
           Case 3:09-cr-00031-LC                  Document 87        Filed 06/09/09   Page 6 of 6



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                            Page 6 of 6
3:09cr31-002LAC - TOLONDA TALLEY

                                    CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                     Restitution

               $200.00                                       $0                           $0




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 ($100.00 each count) is imposed and is to be
paid immediately.

No fine imposed.
No restitution imposed.
